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                                GORDON & HAFFNER, LLP
                                    Attorneys at Law
                                     480 Mamaroneck Avenue
                                     Harrison, New York 10528
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                                           (718) 631-5678

                                                                     January 21, 2020

VIA ECF
Hon. Carla E. Craig
U.S Bankruptcy Court
Conrad B. Duberstein U.S. Courthouse
271-C Cadman Plaza East, Suite 1595
Brooklyn, New York 11201-1800

Re:    In Re: Earl Rasheed Davis, Case No. 18-40766 (CEC); Davis v. Hawthorne, Adv. Proc.
       No. 19-01108

Dear Judge Craig:

       We are special litigation counsel to Debtor Earl Davis, a plaintiff in the above
adversary proceeding, and write on behalf of all plaintiffs to request a two day extension, from
January 22, 2020 to January 24, 2020, of plaintiffs' time to file the brief your Honor directed at
last week’s conference concerning the automatic stay and related matters.

       This is plaintiffs’ first request for an extension. I emailed defendants’ plaintiff’s counsel,
Lisa George, Esq., earlier this afternoon, requesting her consent but have not as yet received a
reply.

       The extension is needed because we have encountered delays receiving certain
documentary evidence from Ms. Elaine Brown, who returned to Virginia following last week’s
conference and is without a scanner or fax machine.

       The Court's consideration of this request is appreciated.

                                                              Respectfully submitted,

                                                              /s/ Steven R. Haffner
                                                                  Steven R. Haffner
